Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 1 of 37

9/19/2016 Massachusetts Trial Court
-1684GV02726 4
{ Case Type Torts Initiating Other Tortious Action i
i Action: |
Case Status Open Status Date: 09/01/2016
File Date 09/01/2016 Case Judge:
DCM Track: _ F - Fast Track Next Event:

All Information Party Tickler Docket Disposition |

Docket Information
Docket Date Docket Text File Ref Nbr.
09/01/2016 Case assigned to:
DCM Track F - Fast Track was added on 09/01/2016
09/01/2016 Original civil complaint filed. 1
09/01/2016 Civil action cover sheet filed ($200,000.00) 2
09/01/2016 Demand for jury trial entered.
09/01/2016 Attorney appearance
On this date Valentin David Gurvits, Esq. added for Plaintiff Fossa Ltd
09/01/2016 Attorney appearance
On this date Matthew Shayefar, Esq. added for Plaintiff Fossa Ltd
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On this date Valentin David Gurvits, Esq. added for Plaintiff Steven Barlow

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ppear personally in court to answer the complaint, but if you claim to have a

ey must serve a copy of your written answer within 20 days as specified herein and also file the

NOTICE TO DEFENDANT — You need not a

defense, elther you or your attorn
original in the Clerk's Office.

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 2 of 37

Commonwealth of Massachusetts

SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
CIVIL ACTION

No. 1684 CV anF26

fossa Led teetlandicLUsS LLC , Plaintififs)
aud Steen Loaplow

v.
. T Jian Lin ancl Encompass , Defendant(s)
Communicabous, Tue.
SUMMONS

To the above-named Defendant:

ou are hereby summoned and required to serve upon Vo leu fu Cuevily Es Sof

of Bastou Low SG Fox p | EC .
plaintiff's attorney, whose address is 435 Piocou St, Ste 20. Mouton 76 By) f, an answer to
the complaint which is herewith served upon you, within 20 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the complaint. You are also required to file your answer to the complaint in the office
of the Clerk of this court at Boston either before service upon plaintiff's attorney or within a reasonable
time thereafter.

Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff which arises out of the transaction or occurrence that is the subject
matter of the plaintiff's claim or you will thereafter be barred from making such claim in any other action.

t *
cl ap ries, Se, Esquire, at Boston, the a day of
aziptevs feb , in the year of our Lord two thousand 3 / Kt 221
RUE ATTESFCOPY Weckak posi) Lose oUan
‘ ere Clerk/Magistrate
noreDEPUTY SHERIFF

1. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.

2. When more than one defendant is involved, the names of all defendants should appear in the caption. [f a separate summons is used for each defendant,
each should be addressed to the particular defendant.

3. TORLAINTIFF'S ATTORNEY: PLEASE CIRCLE TYPE OF ACTION INVOLVED
(O78 — (2) MOTOR VEHICLE TORT — (3) CONTRACT —(4) EQUITABLE RELIEF (5) OTHER

FORM CIV.P. | 3rd Rev. 20M-10/11
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 3 of 37

DOCKET NO.(S) Trial Court of Massachus
CIVIL ACTION etts
T Superior Court Department
COVER SHEE County: Suffolk

PLAINTIFF(S) DEFENDANT(S)

Fossa Lid., lcelandicPLUS LLC and Steven Barlow 1 Jian Lin and

Encompass Communications, inc, d/b/a *“Brandintent”

ATTORNEY, FIRM NAME, ADORESS AND TELEPHONE ATTORNEY (If known)

Valentin Gurvits -- Boston Law Group, PC
825 Beacon Street, Suite 20, Newton, MA 02459 — 617-928-1804

Board of Bar Overseers Number 849572

Origin code and track designation

Place an x in one box only: C1 4. F04 District Court Appeal c. 231, s. 97 & 104 (After
KK) 1. F01 Original Complaint trial) (X)
[) 2. FQ2 Removal to Sup. Ct. C. 231, s. 104 (1 5. FOS Reactivated after rescript; relief from
(Before trial) (F) judgment/Order (Mass. R. Civ. P. 60) (X)
(G3. F03 Retransfer to Sup. Ct. C. 231, s. 102C (x) (1 6. £10 Summary Process Appeal (X}
TYPE OF ACTION AND TRACK DESIGNATION (See reverse side)

CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE?

Breach of fiduciary duty, unjust
enrichment, fraud, breach of es =
B99 contract (F) (x)Yes  (  )No = Be

The following Is a full, itemized and detailed statement of the facts on which plaintiff relles to determ
form, disregard double or treble damage claims; Indicate single damages op

TORT CLAIMS
(Attach additional sheets as necassary)

A. Documented medical expenses to date:
4. Total hospitat expenses . $ 0.00
2 Total Doctor exper ceneeneeenensveseeseeeeevavvereereenssam $0100
3. Total chiropractic expenses $ 0.00
4. Totalphysical therapyexpenses 8 sti(i“‘S;S;S*”*”™”!”™”™!”!O™!™!™!™!™!™!™!™!O™OOOOO $ 0.00,
5 TotalotherempenseS ; | 0.00
Se eee SS optotal SO 0.00
B. Documented lost wages and compensation to date $ 0.00
C. Cocumented property damages to date Fee $ 0.00
D. Reasonably anticipated future medical and hospital ‘expenses EE $ | 0.00,
E. Reasonably anticipated lost wages TES | 0.00
F. Other documented items of damages (describe) Fe $ | 0.00
G. Brief cescription of plaintiff's injury, including natura and extent of injury (describe)

Defendant received funds from Plaintiff through fraud and misrepresentation and used them for personal gains instead of business purposes.

$ Atleast $200,000

TOTAL $ Atleast $200,000

CONTRACT CLAIMS
{Attach additional sheets as necessary)

Provide a detalled description of claim(s):
Defendants promised to use funds for business purposes but instead used it for personal purposes
TOTAL $ At least $200,000

PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR COURT DEPARTMENT:

“{ hereby certify that | have complied with the requirements of Rule § of the Supreme Judicial Court Uniform Rules on Dispute Resolution
(SJC Rule 1:18) requiring that | provide my clients with information about court-connected dispute resolution services and discuss with
them the advantages and disadvantages of ous ynéthods.”

Signature of Attorney of Record OO 9 IP? _— DATE: 08/31/2016

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 4 of 37

| 1684C 02726 Fossa Ltd et al vs. Lin, | Jian et al

CaseType Torts Initiating Other Tortious Action
Action:
Case Status Open Status Date: 09/01/2016
File Date 09/01/2016 Case Judge:
DCM Track: F - Fast Track Next Event:
| Allintormation | Party | Tiekler | Decket Disposition |
Party information
Fossa Ltd - Plaintiff
‘Alias ‘Party Attorney
: Attomey Gurvits, Esq., Valentin David
Bar Code 643572
: Address Boston Law Group, PC
825 Beacon Street :
Suite 20 i
Newton Centre, MA 02459 |
| Phone Number (617)928-1804 |
| Attorney Shayefar, Esq., Matthew
Bar Code 685927
| Address Boston Law Group, PC :
i 825 Beacon Street
Suite 20

_Phone Number

Newton Centre, MA 02459
(617)928- 1806

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(6817)928-1804

Attomey Shayefar, Esq., Matthew
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More Party Information
Barlow, Steven - Plaintiff )
' Alias Party Attorney
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| Bar Code 643572
| Address Boston Law Group, PC
i : 825 Beacon Street
i Suite 20 |
i : Newton Centre, MA 02459 |
i . Phone Number (617)928-1804 \
| Attorney Shayefar, Esq., Matthew i
| | Bar Code 685927
i ’ Address Boston Law Group, PC
: 825 Beacon Street

t
‘

Lin, | Jian - Defendant

Phone Number

Suite 20
Newton Centre, MA 02459
(617)928-1806

| Encompass Communications Inc - Defendant

Alias

Party Attorney

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 5 of 37

Alias . . ‘Party Attorney
More Party Information

Tickler Start Date Days Due Bue Date Completed Date
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Rule 15 Served By 09/01/2016 120 12/30/2016

Rule 15 Filed By 09/01/2016 154 01/30/2017
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Rule 56 Served By 09/01/2016 330 07/28/2017

Rule 56 Filed By 09/01/2016 361 08/28/2017

Final Pre-Trial Conference 09/01/2016 480 1272512017

Judgment 09/01/2016 732 09/03/2018

Docket Information / — : )

Docket Date Docket Text File Ref Nbr. image Avail.

09/01/2016 Case assigned to:

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09/04/2016 Attorney appearance
On this date Matthew Shayefar, Esq. added for Plaintiff Steven Barlow

Disposition

Date Case Judge

Pending

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 6 of 37

COMMONWEALTH OF MASSACHUSETTS

Suffolk, SS.

Fossa Lid.,
IcelandicPLUS LLC and Massachusetts Trial Court Division
Steven Barlow Suffolk Superior Court

Case No.

Plaintiffs,

v.
I Jian Lin and
Encompass Communications, Inc. d/b/a Jury Trial Requested
‘Brandintent”

Defendants.

COMPLAINT AND JURY DEMAND

This is an action for fraud, embezzlement, breach of contract, breach of fiduciary duty
and related causes of action where the Plaintiffs seek damages and other relief for the actions and
omissions of Defendants.

PARTIES

1, The Plaintiff Fossa Ltd. is an Anguilla Intemational Business Company, with
registration number 2328479 with a registered office at Hannah Waver House, The Valley,
Anguilla, British West Indies.

2. The Plaintiff IcelandicPLUS LLC is a Delaware limited liability company with a
registered office at 16192 Coastal Highway, Lewes, Delaware.

3. The Plaintiff Steven Barlow is an individual who resides at 665 Washington St.,
PH27i, Boston, Massachusetts 02111 (“Barlow,” and together with the other Plaintiffs,

“Plaintiffs”).

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 7 of 37

4. The Defendant J Jian Lin is an individual who, on information and belief, resides
at 9 Riverview Heights, Amesbury, Massachusetts 01913, and who has a business address at 18
Graf Road #26, Newburyport, Massachusetts 01950 (“Lin”).

5. Upon information and belief, the Defendant Encompass Communications, Inc.
d/b/a “BrandIntent” is a Massachusetts corporation with its principle office at 18 Graf Road #26,
Newburyport, Massachusetts 01950 (“‘BrandIntent” and together with Lin, “Defendants”).

6. Upon information and belief, Lin is the sole shareholder, director and officer of
Brandintent.

FACTS
The Beginnings of the Relationship Between Barlow and Lin

7. Prior to March of 2013, Barlow was a semi-retired entrepreneur and business
investor and Lin engaged in consulting for marketing, brand positioning and strategic planning
through BrandIntent.

8. In or about March of 2013, Barlow and Lin began a close business relationship,
built around mutual friendship, a past working relationship and trust.

9. In or about March of 2013, Lin approached Barlow for some advice about a pet
food business he was involved in named Murr Inc. & Murr Ehf. (collectively, “Murr”) an
Icelandic company and money that was allegedly owed to Lin for services rendered by
BrandIntent for Murr.

10. One of the first new business opportunities that Barlow and Lin pursued together

was in relation to the pet food company Murr.
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 8 of 37

11. After much discussion with Lin about Murr’s business throughout March 2013
and meeting the Murr CEO and owner Einar Tamimi in April 2013, Barlow was invited to enter
into a consulting agreement with Murr, which was executed on May 01, 2013.

12. Among other activities, Barlow and Lin intended to try to sell Murr pet food
products in the United States and elsewhere.

13. From the onset Barlow opted out of being a “money investor” in Murr and kept
his role as strictly consultative and to be solely compensated through commissions from the
proceeds of sales of Murr products outside of USA.

14. After some months of building the Murr business, Barlow and Lin pursued third-
party investors to finance Murr’s growth strategy. During this time and during negotiations for a
multimillion dollar investment and due diligence process Mr. Tamimi halted his financial
support for Murr’s United States operations. After this Barlow made his first visit to Iceland and
met with all Murr business partners and vendors. It became clear that Murr & Mr. Tamimi owed
monies to many parties. Barlow and Lin then organized and effectuated a Murr bankruptcy on
behalf of all Murr creditors.

15. Following the initiation of the bankruptcy proceeding, Mr. Tamimi convinced the
Icelandic court that he personally owned the brand name “Murr” and all IP relating to the
formulas of Murr’s dog and cat food. This derailed the plans for Barlow and Lin and all creditors
to reorganize and finance Murr for ongoing operations and profits.

16. | When Mr. Tamimi stopped funding Murr’s United States activities Lin
approached Barlow to provide “bridge loans” to Lin and Brand Intent so that he could keep the
company afloat in an effort to sell the USA based Murr inventory in hopes to recover monies for

all Barlow’s loans and the efforts Barlow and Lin expended on Murr’s behalf. Barlow agreed to
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 9 of 37

loan monies to Lin and BrandIntent with the terms that he would get the first money out from
any sales and 50% of the sales proceeds beyond the repayments of all Barlow loans. The net
amount of loans made Defendants in the furtherance of these sales opportunities was
approximately $91,000. Attached hereto as Exhibit 1 is documentation showing some of the
loan payments Barlow made to BrandIntent.

17. Generally, Barlow agreed to loan and finance Lin’s Murr related business
expenses while engaged in business activities that would result in the sale of Murr products that
were stored in Murr’s United States warehouses and in Canada.

18. Barlow loaned considerable sums in connection with the pursuit of the Murr
business opportunity, giving Lin the opportunity to connect with individuals within Murr and
persons who were interested in purchasing Murr products and partners and vendors in USA,
Iceland, Canada, China, and elsewhere and otherwise create business connections that were
intended to be to be for the benefit of both of them.

19. Barlow loaned Defendants approximately $91,000 of his own money in
connection with the Murr business opportunity.

20. In the aftermath of the Murr bankruptcy, Barlow and Lin generally agreed that
they would together pursue various other business opportunities beyond Murr. Their intent was
that Barlow would provide funding as loans for these new business opportunities and provide his
considerable business wisdom on a limited time basis and Lin would find business opportunities
and operate and manage them as a full time executive.

21. After some time, Lin informed Barlow that the Murr business opportunity to sell
the Murr product inventory was not going to be feasible, and Lin stated that he needed to dispose

of it so that Barlow and Lin could move onto other new opportunities together.

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 10 of 37

22. However, as detailed below, Barlow later discovered that Lin sold Murr products
to Chinese purchasers and did not account to Barlow for the sale and took all of the proceeds for
personal gain.

Formation of Fossa Ltd

23. ‘In or about the summer of 2014, Barlow and Lin identified another business
opportunity involving collecting and/or purchasing natural products from Iceland for sale in the
United States, Canada and elsewhere, which they agreed to pursue together through new
business entities they would form together.

24, The business entity which they formed to pursue the Icelandic business
opportunities in Iceland was the Plaintiffs Fossa Ltd..

25, Barlow and Lin also formed the Plaintiff IcelandicPLUS LLC, which does
marketing support, assembly, warehouse storage and logistics for the Icelandic products in the
United States and elsewhere.

26. ‘Fossa Ltd. and IcelandicPLUS LLC and their businesses are collectively referred
to herein as “Fossa.”

27. Barlow and Lin are each 50% ultimate beneficial owners of Fossa.

28. Barlow and Lin are each officers and/or managers of Fossa.

29. Prior to, during and after the incorporation of Fossa on or about November 04,
2014, including during its operations, Barlow has loaned Fossa significant amounts of money in
order to fund Fossa and its business and operations.

30. Barlow has loaned at least $692,000 to Fossa since its inception.

31. Lin was permitted to use these funds only under the conditions that he use them

reasonably and only for purposes that advanced the interests of Fossa and its business.

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 11 of 37

32. Lin was not permitted to use these funds for any personal purposes or for the
benefit of BrandIntent or any other businesses of Lin.

33. Between August of 2014 and July of 2015, Barlow estimates that he loaned
approximately $435,000 to Fossa by payments to BrandIntent’s bank accounts at TD Bank (see
“Expense Practices” below). Outside these periods, Barlow has invested significant additional
funds.

34, Lin was only permitted to use Fossa’s funds (i.e., the funds loaned by Barlow) for
meals and other per diem purposes while he was travelling to Iceland for Fossa as well as direct
business expenses of Fossa.

35. Lin and Barlow agreed that any of Fossa’s revenues shall first be used to pay back
Barlow’s loans to both Fossa and the Murr project before making any other distributions.

36. Until such time as Barlow recovered his loans, Lin and Barlow also agreed that
Lin would not cause Fossa to take any actions outside the ordinary course of business, including
by impairing the value of the assets of Fossa or otherwise interfering with the assets, goodwill or
business of Fossa.

Expense Practices

37. Through at least July of 2015, Barlow and Lin agreed that, for ease and until the
appropriate bank accounts could be set up, Fossa’s expenses would be paid through BrandIntent’
bank accounts, credit cards and debit cards and that Barlow and/or Fossa would reimburse
BrandIntent for the Fossa expenses (only) upon Lin’s request.

38. Through at least July of 2015, Lin would charge Fossa’s expenses to BrandIntent

and regularly request Barlow and/or Fossa to pay BrandIntent for the expenses.

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 12 of 37

39, | When Lin would request payment for what he claimed were Fossa’s expenses,
Lin would not provide detailed expense reports, bank records or receipts — but he would instead
only provide broad categories of expenses and the purported amounts and request that Plaintiffs
repay him.

40. A few examples of Lin’s explanations of expenses are attached hereto as Exhibit
2 (email from Lin dated September 2, 2014), Exhibit 3 (email from Lin dated September 8,
2014), Exhibit 4 (email from Lin dated January 22, 2015), and Exhibit 5 (email from Lin dated
February 17, 2015).

41. It was not until Plaintiffs gained access to BrandIntent’ bank records that
Plaintiffs discovered that Lin had been providing fraudulent explanations for his expenses and
reimbursement requests and that Plaintiffs had been paying Defendants for what were Lin’s
personal expenses or expenses otherwise not related to Fossa.

42. Upon review of the bank records, it became apparent that Lin was requesting
reimbursement for the entirety of BrandIntent’ credit and/or debit card charges and expenses, and
that the credit and/or debit card charges and expenses did not match up with what Lin told
Plaintiffs he was spending the money on.

43. To the contrary, Lin told Plaintiffs that he spent money on Fossa related expenses
(for example, he said he was purchasing lamb horns and business related products and services
for Fossa), but in fact he was spending much of that money on other items and services that were
completely irrelevant to Fossa and were solely for Lin’s personal benefit or his personal
businesses.

Defendants’ Embezzlement and Misuse of Funds

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 13 of 37

44. Starting at the latest in May of 2014, Defendants began to embezzle and misuse
Plaintiffs’ funds.

45. Plaintiffs (by reimbursing Defendants) have expended approximately $458,000
just in the time period from August 2014 through July 2015. (Fossa’s total expenses since its
inception have been at least $1,175,000.)

46. After extensive research of Defendants’ records, Plaintiffs have calculated that
only approximately $289,000 of that $458,000 amount was spent by Defendants on clear and
reasonable purposes related to Fossa’s business.

47. Proportionately, this means that up to 37% of all putative expenses of Fossa
between August 2014 and July 2015 were actually misappropriated by Defendants for their own
personal use and benefits.

48. Plaintiffs have calculated that Defendants spent approximately $116,000 of the
$458,000 (i.e., 25%) on what are clearly personal purposes or purposes completely unrelated to
Fossa.

49. Of the remaining approximately $53,000 of the $458,000 (i.e., 12%) Plaintiffs
cannot at this time determine whether they were legitimate Fossa business expenses or otherwise.

50. The following are only a sampling of Defendants’ personal or non-Fossa expenses
for which Plaintiffs reimbursed Defendants, none of which were for Fossa business reasons:

a. On August 26, 2014, Defendants paid $650.00 to Gus’s Bike Shop in North

Hampton, New Hampshire, for which Plaintiffs reimbursed Defendants. See
Exhibit 6 hereto, portion of BrandIntent bank statement from August 2014, Also
clearly visible in Exhibit 6 are numerous other non-Fossa related expenses for

which Defendants received money from Plaintiffs.
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 14 of 37

b. On August 27, 2014, Defendants paid $590.00 to Kaizen Tuning, a custom
automotive shop in Boxborough, Massachusetts, for which Plaintiffs reimbursed
Defendants. See Exhibit 6 hereto, portion of BrandIntent bank statement from
August 2014. Also clearly visible in Exhibit 6 are numerous other non-Fossa
related expenses for which Defendants received money from Plaintiffs.

c. On September 9, 2014, Defendants paid $1,225 to Papa Wheelies in Portsmouth,
New Hampshire, which is a bicycle shop, for which Plaintiffs reimbursed
Defendants. See Exhibit 7 hereto, portion of BrandIntent bank statement from
September 2014. Also clearly visible in Exhibit 7 are numerous other non-Fossa
related expenses for which Defendants received money from Plaintiffs.

d. On September 12, 2014, Defendants paid $2,269.94 to Gus’ Bike Shop in North
Hampton, New Hampshire, for which Plaintiffs reimbursed Defendants. See
Exhibit 8 hereto, portion of BrandIntent bank statement from September 2014.
Also clearly visible in Exhibit 8 are numerous other non-Fossa related expenses
for which Defendants received money from Plaintiffs.

€. On September 15, 2014, Defendants paid $232.55 to the Shabu Zen restaurant in
Allston, Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit
9 hereto, portion of BrandIntent bank statement from September 2014. Also
clearly visible in Exhibit 9 are numerous other non-Fossa related expenses for
which Defendants received money from Plaintiffs.

f. On October 20, 2014, Defendants paid $81.91 to Blue Lagoon Verslun Grindavik
ISL Cosmetic Store in Iceland, for which Plaintiffs reimbursed Defendants. See

Exhibit 10 hereto, portion of BrandIntent bank statement from October 2014.
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 15 of 37

Also clearly visible in Exhibit 10 are numerous other non-Fossa related expenses
for which Defendants received money from Plaintiffs.

g. On November 17, 2014, Defendants issued a check in the amount of $5,600 using
Fossa’s funds without any cognizable legitimate business purpose. See Exhibit 11
hereto, portion of BrandIntent bank statement from November 2014. Also clearly
visible in Exhibit 11 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

h. On December 22, 2014, Defendants paid $365.60 to Bassler Veterinary Hospital
in Salisbury, Massachusetts, $227.86 to the Coach store in Kittery, Maine and
$91.98 to the Aldo store in Burlington, Massachusetts, for all of which Plaintiffs
reimbursed Defendants. See Exhibit 12 hereto, portion of BrandIntent bank
statement from December, 2014. Also clearly visible in Exhibit 12 are numerous
other non-Fossa related expenses for which Defendants received money from
Plaintiffs.

i. On February 3, 2015, Defendants paid $12.29 to the Dunkin Donuts in Amesbury,
Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit 13
hereto, portion of BrandIntent bank statement from February 2015. Also clearly
visible in Exhibit 13 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

j. On April 17, 2015, Defendants paid $111.47 to Bed Bath and Beyond in Danvers,
Massachusetts, for which Plaintiffs retmbursed Defendants. See Exhibit 14

hereto, portion of BrandIntent bank statement from April 2015. Also clearly

10

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 16 of 37

visible in Exhibit 14 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

k, On May 11, 2015, Defendants paid $640.56 via PayPal to Tiretrack, a tire
company, for which Plaintiffs reimbursed Defendants. See Exhibit 15 hereto,
portion of BrandIntent bank statement from May 2015. Also clearly visible in
Exhibit 15 are numerous other non-Fossa related expenses for which Defendants
received money from Plaintiffs.

L. On June 22, 2015, Defendants paid $182.01 to Shio Japanese Restaurant in
Portsmouth, New Hampshire and $247.00 via PayPal to Vollkommend in San

Jose, CA for car parts, for which Plaintiffs reimbursed Defendants. See Exhibit

16 hereto, portion of BrandIntent bank statement from June 2015. Also clearly
visible in Exhibit 16 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

m. On June 29, 2015, Defendants paid $168.00 to the Lululemon Athletica clothing
store in Natick, Massachusetts, for which Plaintiffs reimbursed Defendants. See
Exhibit 17 hereto, portion of BrandIntent bank statement from June 2015. Also
clearly visible in Exhibit 17 are numerous other non-Fossa related expenses for
which Defendants received money from Plaintiffs.

Dn. On July 14, 2015, Defendants paid $235.48 to the Cole Haan store in Kittery,
Maine, for which Plaintiffs reimbursed Defendants. See Exhibit 18 hereto,
portion of BrandIntent bank statement from July 2015. Also clearly visible in
Exhibit 18 are numerous other non-Fossa related expenses for which Defendants

received money from Plaintiffs.

11
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 17 of 37

0. On July 23, 2015, Defendants paid $3,976.52 to B&H Photo in New York, for
which Plaintiffs reimbursed Defendants. See Exhibit 19 hereto, portion of
BrandIntent bank statement from July 2015. Also clearly visible in Exhibit 19 are
numerous other non-Fossa related expenses for which Defendants received money
from Plaintiffs.

51. Attached hereto as Exhibit 20 is a spreadsheet setting forth Defendants’ non-
Fossa expenditures in detail.

52. On information and belief, Defendants would regularly make checks out to cash
or send wires or make other untraceable payments, which Lin explained to Barlow and Fossa as
being for business purposes, but were instead were for his own personal use or non-Fossa uses

53. Defendants’ expenditures of Plaintiffs’ funds for illegitimate purposes only began
to slow down after Plaintiffs instituted strict accounting procedures and put in spending controls.
Lin’s Unreasonable Expenses

54. Even Lin’s expenses which conceivably could have been classified as business
expenses were unreasonable and indicate abuse.

55. For example, Lin spent an average of approximately $161.00 per day for business
meals while on his trips to Iceland.

56. The following are just a few examples of the extraordinarily expense meals
expensed by Lin on his business trips to Iceland: $390.00 at Rub 23 Akureyri on October 10,
2014; $385.57 at Fiskmarkadurinn Reykjavik on October 20, 2014; $263.99 at Fiskfelagid

Reykjavik on December 11, 2014; and $469.23 at Studio Braud Kopavogur on February 13,

2015.

12
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 18 of 37

57. Barlow, on the other hand, spent an average of approximately $80.00 per day for
business meals while on his trips to Iceland.

58. On information and belief, Lin’s children and others travelled with him on his
business trips to Iceland, and Lin charged much of their expenses to Fossa.

Other Persons Were Using Lin’s Business Credit Card for Personal Expenses

59. On information and belief, Lin would provide BrandIntent’ debit card to his
family and/or friends to use for their own personal purposes, for which he would later be
reimbursed by Plaintiffs.

60. Lin travelled to Iceland for Fossa’s business from February 2, 2015 through
February 13, 2015. See Exhibit 21 hereto, a portion of BrandIntent’ bank records showing Lin’s
expenses in Iceland during this time period, including, for instance, a $95.00 charge for airport
transportation on February 2, 2015 and charges in Iceland starting thereafter.

61. In that same time period that Lin was in Iceland from February 2 to 13, 2015,
there were numerous charges on BrandIntent’ debit card to businesses in the United States,
totaling over $1,000.00. Some of those expenses include $17.38 to Pet City in Seabrook, New
Hampshire on February 3, 2015 and $43.11 to the CVS in Amesbury, Massachusetts on February
12, 2015. See Exhibit 21.

62. Lin travelled to Iceland for business from July 1 through July 14 of 2015. See
Exhibit 22, a portion of BrandIntent’ bank records showing Lin’s expenses in Iceland during this
time period

63. Despite being in Iceland at that time, on July 13, 2015, there were at least $779.77
of charges to Fossa’s account from clothing stores in the Kittery Outlet Mall in Kittery, Maine.

See Exhibit 22.

13
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 19 of 37

64. | Defendants were reimbursed for all these US expenses while Lin was travelling in
Iceland — expenses that could not possibly have been related to Lin’s work for Fossa.

Lin Intentionally Failed to Respond to Explanations

65. Starting at the latest in January of 2015, Barlow began questioning Lin about his
expenditures on the business.

66. For example, on January 20, 2015, Barlow emailed Lin the following: “I know
you are working very hard and making great progress. I need to have a better understanding of
the spending to date and going forward. Please send me details on the following....” The Email
then listed 12 wire transfers totaling over $40,000.00. Barlow explained that he did “not have
unlimited funds for keeping Fossa afloat and | am getting a bit concerned.” See Exhibit 23
hereto.

67. Lin never provided all of the information requested in that email.

68. On February 16, 2015, Barlow sent another email to Lin asking for details on the
previous 12 wire transfers as well as another 7, to which Lin never responded with all of the
information requested. See Exhibit 24 hereto.

69. Barlow, and eventually the bookkeeper that Fossa hired, sent emails of this sort to
Lin on nearly a monthly basis, which Lin largely ignored. See, for example, Exhibit 25 and
Exhibit 26.

Lin Misappropriates Iceland Grant Money

70. On or about June 1, 2015, the Icelandic development agency Vaxtasamningur

Vestfjarda deposited $2,743.96 into BrandIntent’s bank account. See Exhibit 27 hereto.

71. Qn information and belief, this was a grant for Fossa.

14
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 20 of 37

72. Defendants never reported this income that was due to Fossa to Plaintiffs and Lin
did not send this revenue to Barlow as he agreed, given the enormous debt that Fossa had to
Barlow and that all revenues would first be paid to Barlow.

Lin’s Collusion to Usurp Fossa Opportunities with Gordon Shaw and Shiran K. borisson

73. One of Fossa’s important business contacts in Iceland was an individual by the
name of Shiran K. Pdrisson (Mr. Périsson’”), with whom Lin created a business relationship
under Fossa’s name and using Fossa’s funds.

74. In July of 2015, Lin began working with Mr. Périsson to bring a potential
business affiliate, a venture capitalist named Gordon Shaw (“Mr. Shaw”), to Iceland to begin
work on other projects in Iceland.

75. Although the business with Mr. Shaw was a Fossa business opportunity, Lin
worked with Mr. Porisson to usurp the business opportunity for himself and BrandIntent.

76. In an email dated July 28, 2015, Lin wrote to Mr. Périsson and stated that Mr.
Shaw “really wants to see what I am up to and what interests me in Iceland but mostly he is
investing in me and my vision here,” indicating that he was meeting with Gordon for his own
personal purposes. See Exhibit 28 hereto.

77, However, his entire business trip to Iceland when he met with Mr. Shaw was paid
for by Fossa.

78. In December of 2015, Lin took a family trip to Iceland, which he described to Mr.
borisson in an email dated December 14, 2015 as “a stealth trip so we will not be telling
anyone.”

79. Despite it being a family trip and a “stealth trip,” Lin expensed the trip to Fossa

and did not tell Barlow about the trip or its purposes. On information and belief, Lin used this

15
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 21 of 37

and other trips as a means to build up his non-Fossa business in Iceland and to usurp Fossa’s
business opportunities.

80. In December of 2015, Lin gave a key to the apartment that Fossa had rented in
Iceland for Fossa purposes only to Mr. Pdérisson for Mr. Périsson’s personal use and without
telling Barlow or accounting for such use to Plaintiffs.

Lin Misappropriates Fossa’s Fish Skin Project

81. Soon after the formation of Fossa, Barlow and Lin discussed and had plans to
expand the business of Fossa from its initial product of lamb horns to other items sourced from
Iceland, including fish skins and fish related products.

82. Barlow and Lin had numerous conversations over many months about Fossa
purchasing and selling the fish skins. See, for example, Exhibits 29-31, emails from Lin to
Barlow regarding progress on the fish skin project (with irrelevant and confidential business
communications omitted) and photos of Lin visiting fish skin suppliers.

83. Barlow and Fossa expended time, resources and funds working on the fish skin
business.

84. Lin originally approached other parties to work on the fish skin project under the
Fossa name and using Fossa funds.

85. After Lin created these connections and the groundwork under Fossa, Defendants
usurped the business opportunities, and sought to have money that should have been paid to
Fossa for the project paid to BrandIntent instead.

86. In an email thread dated December 30, 2015 with Mr. Périsson, Mr. Périsson
emailed Lin at his Fossa email address with documents listing Fossa as the entity working on the

fish skins project. See Exhibit 32 hereto.

16
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 22 of 37

87. Lin emailed Mr. boérisson back and stated, falsely and fraudulently, that “it was a
BrandIntent project and not a Fossa project.” Exhibit 32.

88. Lin thereafter executed documents for the project in his own and BrandIntent’
name rather than in Fossa’s name, taking the business opportunities that were meant for Fossa.
See Exhibit 33 hereto.

89. | Upon information and belief, Lin personally received $32,590 for usurping the
fish skins project that should have been Fossa’s. See Exhibit 33 hereto.

90. _ Lin purposefully hid from Plaintiffs Defendants’ transactions relating to the fish
skins and the funds.

Defendants Sold Murr Products Without Including or Informing Barlow

91. | Asnoted above, Barlow and Lin were partners in the Murr project, with Barlow
fronting significant funds as loans towards that project.

92. Barlow and Lin agreed that any revenue realized from the Murr project would
first be used to repay Barlow’s loans into the project before splitting profits between them.

93. In March of 2014, Barlow and Lin discussed a potential deal where they would
sell Murr products to China.

94. Lin told Barlow that the China deal could not be completed.

95. | However, Lin completed the deal without telling Barlow and, on May 21, 2014,
Lin received $46,130 for selling Murr products in China. See Exhibit 34, a portion of
BrandIntent’ bank statement showing incoming wire from Zenwotronic Enterprises Co., a
Chinese retailer of pet products.

96. Attached hereto as Exhibit 35 is also a screenshot of a website from China selling

Murr products in China that were sold to it by Lin.

17
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 23 of 37

97. Lin never told Barlow about the sale and never shared any of the revenue from the
sale with Barlow.

98. Defendants purposefully hid the sale of the Murr products from Barlow and kept
the proceeds, which should have been paid to Barlow.

Additional Factual Allegations

99. In an email on or about September 18, 2015, Lin admitted to a contractor for
Fossa, Omar Mar Jonsson, that the records he has been providing Barlow for his expenses were
incorrect. Specifically, he wrote: “The record I have for Steve [Barlow] does not match aureus
Icelandic record.” See Exhibit 36.

100. Defendants purchased certain physical items and property to be used in Fossa’s
business and warehouse in the United States, for which Plaintiffs reimbursed Defendants. After
those items and property were delivered to the warehouse, Lin over time entered the warehouse
and took the items and property, which he converted for Defendants’ use. Those items and
property include, without limitation, fish skin samples, horns, marrow products, lamb skins, horn
knives, furniture, a saw/buffer, a label printer, an iPad and an iPhone. Those items and property
have not been returned.

101. In or about July of 2015, when Fossa implemented stricter accounting and
bookkeeping procedures, which had the effect of limiting Lin’s ability to further embezzle and
misuse funds, Lin began to complain about health problems, which he used as an excuse to stop
responding to requests to explain his questionable activities. On information and belief, Lin was
overstating the suffering from his health problems and continues to do so to date for effect.

102. All told, Plaintiffs estimate that Defendants have damaged Plaintiffs in an amount

of at least $200,000 to $250,000, though the exact amount may be greater and cannot be

18

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 24 of 37

determined as a result of the actions and omissions taken by Defendants to hide their activities.
This amount is calculated as follows: $116,000 of personal and non-Fossa expenses charged to
Plaintiffs, plus the $2,743.96 grant from Vaxtasamningur Vestfjarda that Defendants kept for
themselves, plus $46,130 from the sale of Murr products that Defendants kept for themselves,
plus $32,590 in funding for the fish skin project that Defendants kept for themselves, plus up to
$53,000 of additional expenses which Plaintiffs cannot at this time determine are legitimate
Fossa expenses.

103. Additionally, on information and belief, Defendants inflated the costs of
legitimate expenses and wages for personnel of Fossa and skimmed cash off the top of those
expenses and wages, which they kept for themselves. Plaintiffs at this time cannot determine the
amount of such monies embezzled by Defendants.

COUNT I

Breach of Fiduciary Duty
Plaintiffs against Lin

104. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

105. Lin, as a partner to Barlow and as an officer of Fossa, owed a fiduciary duty to
Plaintiffs.

106. Lin breached his fiduciary duty by engaging in the acts and omissions set forth
herein.

107. In consideration of the above facts and circumstances, to the extent that demand
would be required, demand on the management of Fossa would be futile.

108. Plaintiffs have suffered direct harm and damages from Lin’s breaches of fiduciary

duties for which Lin is personally liable.

19
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 25 of 37

COUNT
Breach of Contract

Plaintiffs against Lin

109. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

110. The Parties made several agreements between themselves regarding their
relationships and business opportunities.

111. Without limitation, Barlow and Lin agreed that any activities relating to Murr
would be a joint project between them and that any revenues from that project would first go to
paying back Barlow’s loans.

112. Without limitation, Barlow, Lin and Fossa agreed that Barlow’s loans in Fossa
would be used only for Fossa purposes and not for Lin’s personal purposes or other purposes.

113. Without limitation, Barlow, Lin and Fossa agreed that all business opportunities
in Iceland, including any business opportunity relating to fish skins, would be Fossa’s business
opportunities.

114. Without limitation, Barlow, Lin and Fossa agreed that Lin would not take any
action which would cause damage to Fossa’s assets, business or goodwill.

115. Barlow and Fossa have complied with their obligations under the agreements
between the parties.

116. Lin has breached the agreements between the parties, including, without
limitation, by his acts set forth herein.

117. Barlow and Fossa have suffered direct harm and damages resulting from Lin’s
breaches of the agreements, for which Lin is liable.

COUNT HI
Unjust Enrichment

20
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 26 of 37

Plaintiffs against Defendants

118. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

119. By engaging in the acts and omissions set forth herein, Defendants have received
benefits to which Plaintiffs are entitled.

120. Under the circumstances described herein, it would be inequitable for Defendants
to retain such benefits without payment for their value to Plaintiffs.

121, Defendants have been unjustly enriched by Plaintiffs and equity and good
conscience require Defendants to make restitution to Plaintiffs for the benefits that Defendants
have inequitably retained from Plaintiffs.

COUNT IV

Fraudulent Misrepresentation
Plaintiffs against Defendants

122. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

123. Defendants made numerous misrepresentations to Plaintiffs with the intention that
Plaintiffs would rely upon them.

124. Without limitation, Lin represented to Barlow that he would use any of the
revenues from the Murr project to first pay back Barlow’s loans and then he would share the
profits with Barlow.

125. Without limitation, Defendants represented to Plaintiffs that they would use

Barlow’s loans in Fossa only for Fossa business purposes and not for any personal or other

purposes.

21
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 27 of 37

126. Without limitation, Lin represented to Plaintiffs that the business activities he was
engaging in in Iceland and elsewhere were for the benefit of Fossa, and not for his own personal
benefit or the benefits of others, including BrandIntent.

127. Without limitation, Defendants represented to Barlow and Fossa that the expenses
they requested reimbursements for were for Fossa’s business purposes only and not for any other
purposes.

128. Defendants’ representations were false and Defendants knew them to be false
when they made them or they made recklessly without knowledge of their truthfulness.

129. Defendants made the false representations with the intent that Plaintiffs would
rely on them.

130. Plaintiffs justifiably relied on the false representations, including by, without
limitation, investing further funds in Fossa, making payments to Defendants and permitting
Defendants to continue to spending Plaintiffs’ funds.

131. Asa direct result, Plaintiffs have suffered harm and damages for which
Defendants are liable.

COUNT V
Embezzlement

Plaintiffs against Defendants

132, Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

133. Defendants have dishonestly withheld and/or taken funds and other property from
Plaintiffs, the true owners of the funds and other property.

134. Without limitation, Lin entered the warehouse of Fossa and took Fossa’s items

and property.

22
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 28 of 37

135. Defendants have acted with the intent to deprive Plaintiffs of their rights to
possess and use the funds and other property for Defendants’ use.
136. Defendants’ acts have directly caused Plaintiffs damages and harm for which

Defendants are liable.

COUNT VI
Conyersion

Plaintiffs against Defendants

137. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

138. By engaging in the acts and omissions set forth herein, Defendants have
converted Plaintiffs’ property, including funds and other property, for their own use,
intentionally and without consent.

139. Without limitation, Lin entered the warehouse of Fossa and took Fossa’s items
and property.

140. Defendants’ actions and omissions have caused direct damages and harm to
Plaintiffs for which Defendants liable.

COUNT VII
Civil Conspiracy
Plaintiffs against Defendants

141. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

142. Defendants devised and engaged in a common design with other parties,
including, on information and belief, other employees and contractors of Fossa and BrandIntent

(including, without limitation, Mr. Périsson) and Lin’s children and other parties whose

23
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 29 of 37

identities are only known to Defendants at this time (collectively, the “Conspirators”), one or
more of whom, on information and belief, reside in Iceland, to commit wrongful acts.

143. As described herein, Defendants committed tortuous and other wrongful acts in
furtherance of the common design of the Conspirators.

144, Without limitation, Defendants and the other Conspirators engaged in acts and
omissions in a common design to embezzle funds and other property from Plaintiffs.

145. This conspiracy has caused direct harm and damages to Plaintiffs for which
Defendants are liable.

COUNT Vil

Accounting
Plaintiffs against Defendants

146. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

147. As set forth in detail herein, Defendants have committed fraud and other illicit
acts against Plaintiffs.

148. As part of the fraud and other illicit acts, Defendants have concealed their
wrongful acts from Plaintiffs.

149. Plaintiffs are unable to ascertain the full extent of their damages without a full and
complete accounting of the benefits Defendants have derived from Plaintiffs.

150. Plaintiffs require a full and complete accounting of Defendants’ assets and
finances to determine their damages.

151. Plaintiffs do not have an adequate remedy at law and are entitled to equitable
relief in the form of an accounting by Defendants.

COUNT IX
Violation of RICO, 18 U.S.C. § 1962(c)

24
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 30 of 37

Plaintiffs against Defendants

152. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

153. Defendants have acted in concert with the other Conspirators to violate the civil
RICO statute and have thereby caused damages to Plaintiffs.

154. The Conspirators have assisted, aided and abetted Defendants in many of their
acts and omissions set forth herein.

155. The association of the Conspirators constitutes an enterprise within the meaning
of 18 U.S.C. § 1961(4), which enterprise was engaged in, and whose activities affected, interstate
and foreign commerce. The enterprise was and is continuous in that it lasted for at least one
year, has an ascertainable structure and is distinct from the predicate offenses alleged herein.

156. Upon information and belief, the role of each of the Conspirators is as follows:

a. Lin was the head of the Conspirators and is responsible for gaining access to

Barlow and Fossa’s funds and resources for use by the other Conspirators.

b. BrandIntent were the corporate entity through which the illegitimate transactions

flowed.

c. Lin’s children knowingly received funds and other goods and services by way of

Lin’s embezzlement and other bad acts and held them for their own and Lin’s use.

d. Shiran bérisson was Lin’s contact and conspirator based in Iceland who helped

him engage in business dealings in Iceland when he couldn’t be there physically

himself and who otherwise assisted Lin in his activities.

25
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 31 of 37

€. Fossa’s employees and/or contractors were responsible for keeping Barlow and
Fossa from learning about the true dealings of Defendants and the Conspirators,
hiding important information and providing false information.
157. The Conspirators are each a person within the meaning of 18 U.S.C. § 1961(3)
and are each separate from the enterprise.
158. The Conspirators’ scienter is clearly established from their pattern and practices
alleged herein.
159. Each Conspirator participated and conspired with the other Conspirators to
participate in the affairs of the aforementioned enterprise through a pattern of racketeering
activity, as set forth more fully below, all in violation of 18 U.S.C. § 1962(c).

Wire Fraud, violation of 18 U.S.C. 8 1343

160. The Conspirators, having devised or intending to devise a scheme or artifice to
defraud and/or obtain money or property by means of false or fraudulent pretenses,
representations or promises, transmitted or caused to be transmitted, writings, signs, or signals by
means of wire communications in interstate or foreign commerce for the purpose of executing
such scheme or artifice.

161. The Conspirators have engaged in the predicate acts of wire fraud in violation of
18 U.S.C. § 1343 by sending emails, text messages, initiating telephone calls and engaging in
other communications over the wire communications of interstate commerce. The full extent of
the wire fraud and other predicate acts by the Conspirators is unknown to Plaintiffs at this time.

162. The Conspirators have engaged in the following partial list of predicate acts of

wire fraud in violation of 18 U.S.C. § 1343:

26

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 32 of 37

a. On January 15, 2015, Lin sent Barlow an email explaining the status of his
ongoing business trip to Iceland (which was expensed to Fossa), including
information about how he visited an automated fish skin production facility for
pet chews, which Lin indicated would be a business opportunity for Fossa. See
Exhibit 31. However, it was Lin’s intention (as he later accomplished) to take
that business opportunity for himself after using Fossa’s funds to explore it.

b. On January 17, 2015, Lin sent Barlow an email stating that “Fish skin is dead.”
However, Lin instead took the fish skin project on as his own. See Exhibit 37.

c. On numerous occasions, Lin sent emails to Barlow requesting additional funding
and setting forth budgets for what he said were business expenses, but which
Plaintiffs now understand were largely for personal expenses. Lin sent such
emails on September 2, 2014 (Exhibit 2), September 8, 2014 (Exhibit 3), J anuary
22, 2015 (Exhibit 4), February 17, 2015 (Exhibit 5) and beyond.

d. In the September 13, 2014 email, Lin stated that “I have been very strict and
careful on spending the cash and at times overly stressed about it. As you know
that I will not spend any funds unless it is necessary.” See Exhibit 38 (irrelevant
portions omitted). To the contrary, on the day before, on September 12, 2014, Lin
spent $2,269.94 of Fossa’s funds at Gus’ Bike Shop in North Hampton, New
Hampshire. See Exhibit 8.

€. On August 3, 2015, Lin responded to an email from Fossa’s bookkeeper, Sonya
Livshits, where the bookkeeper asked Lin to respond to expenses which were
never explained. Lin responded by email that he could not provide explanations

at that time. See Exhibit 39. Upon information and belief, Lin knew what the

27
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 33 of 37

163.

expenses were for but never explained them because they were personal expenses
and he wanted to hide his bad acts. Lin never did explain all the expenses.

On December 30, 2015, Lin send an email to Mr. Périsson asking him to change
the business entity on the fish skin project documents from Fossa to BrandIntent.
See Exhibit 32.

On or about September 18, 2015, Lin sent an email to a contractor for Fossa,
Omar Mar Jonsson, explaining “The record I have for Steve [Barlow] does not
match aureus Icelandic record.” See Exhibit 36.

On or about November 31, 2015, Lin emailed to Barlow and/or Sonya Livshits an
expense report which fraudulently stated that his personal expenses on Fossa’s
account were for business purposes. See Exhibit 40. Furthermore, even some of
those expenses which were purportedly for Fossa’s business and warehouse and
did actually originally appear in Fossa’s warehouse, later disappeared from the
warehouse without explanation. Lin entered the warehouse and took those items
for Defendants’ use and has not retuned them.

Each Conspirator knew, expected, reasonably foresaw and intended that the

facilities of wire communications would be used in furtherance of the racketeering scheme and

that such use was an essential part of the scheme.

Monetary Transactions in Property Derived from Specified Unlawful Activity,

164.

Violations of 18 U.S.C. § 1957

The conspirators knowingly engaged in monetary transactions involving property

valued at greater than $10,000, with the knowledge that the property involved was derived

through wire fraud in violation of 18 U.S.C. § 1343.

28
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 34 of 37

165. The Conspirators engaged in numerous monetary transactions in violation of 18
U.S.C. § 1957, The total number of such unlawful transactions committed by the enterprise is
unknown to Plaintiffs at this time.

166. Plaintiffs only have access to certain of BrandIntent’s bank account records,
which themselves show hundreds of transactions that could not possibly be Fossa-related
business expenses, but only personal expenses or expenses related to other business. Plaintiffs
believe that Defendants may have further documents showing even further use of the monies
derived from their unlawful activities.

Laundering of Monetary Instruments, Violations of 18 U.S.C. § 1956

167. The Conspirators, knowing that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity, conducted or attempted to conduct
such transactions with the intent to promote the carrying on of wire fraud in violation of 18
U.S.C. § 1343, or knowing that the transaction was designed in whole or in part to conceal or
disguise the nature, location, ownership or control of the proceedings of wire fraud in violation
of 18 U.S.C. § 1343.

168. The Conspirators engaged in numerous monetary transactions in violation of 18
U.S.C. § 1956. The total number and value of such unlawful transactions committed by the
enterprise is unknown to Plaintiffs at this time.

Pattern of Racketeering Activity

169. The aforesaid acts had the same or similar purposes, results, participants, victims
and/or methods of commission, and were otherwise interrelated by distinguished characteristics

and were not isolated events. The pattern of racketeering activity engaged in by the Conspirators

29

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Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 35 of 37

consisted of a scheme executed by the aforementioned participants beginning on or before May
of 2013 and continuing to date. That pattern included the multiple predicate acts alleged herein.

170. The Conspirators participated in the scheme through themselves, the participants
identified herein, and others whose identities are unknown to Plaintiffs at this time.

171. Each Conspirator’s participation was essential to the racketeering scheme.

172. The precise role played by each Conspirator is unknown to Plaintiffs at this time
because evidence concerning the full extent of their participation exists exclusively within their
possession and knowledge.

173. Plaintiffs have been injured in their business or property as a direct and proximate
result of the violation of 18 U.S.C. § 1962(c).

174. By reason of this violation of 18 U.S.C. § 1962(c), Plaintiffs are entitled to
recover three times their damages plus interest, costs and attorneys’ fees.

COUNT X

RICO Conspiracy, 18 U.S.C. § 1962(d)
Plaintiffs against Defendants

175. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

176. In violation of 18 U.S.C. § 1963(d), Defendants and other Conspirators conspired
to violate the provisions of 18 U.S.C. § 1962(c) in that, beginning in 2013 or earlier, and
continuing to the present, they knowingly agreed and conspired to conduct or participate, directly
or indirectly, in the affairs of an enterprise through the pattem of racketeering activity described
above. The volume and frequency of the transaction and the continuance of the scheme alleged
herein for over a year could not have occurred without the consent and knowing connivance of

Defendants and the other Conspirators.

30

Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 36 of 37

177. As part of and in furtherance of the conspiracy, Defendants agreed to and
conspired in the commission of the predicate acts alleged above, with the knowledge that they
were in furtherance of that pattern of racketeering activity.

178. As part of and in furtherance of their conspiracy, Defendants agreed to and did
commit at least two predicate acts of racketeering.

179. None of the Conspirators has withdrawn or otherwise disassociated himself or
herself from the conspiracy alleged herein.

180. Plaintiffs have been injured in their business and/or property as a direct and
proximate result of the violations of 18 U.S.C. § 1962(d).

181. By reason of these violations of 18 U.S.C. § 1962(d), Plaintiffs are entitled to

recover three times their damages plus interest, costs and attorneys’ fees.

REQUESTED RELIEF

WHEREFORE, Plaintiffs pray that this honorable court will award the following:

A. Enter judgment for Plaintiffs on all Counts of their Complaint;

B. Award Plaintiffs damages and losses as determined at trial, including, without
limitation, actual damages, consequential damages, punitive damages, attorneys’ fees, multiple
damages, interest and costs as provided by law;

C. An order for Defendants to provide a full accounting of their assets and finances
from January 2013 through the present, or for such period as the Court may direct;

D. Award Plaintiffs compensatory damages, treble damages, attorneys’ fees and
costs pursuant to 18 U.S.C. § 1962; and

E. Grant Plaintiffs such other relief as the Court deems just,

31
Case 1:16-cv-11914-LTS Document 1-1 Filed 09/21/16 Page 37 of 37

PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES

Dated: August 31, 2016

32

Respectfully submitted,
The Plaintiffs,

Fossa Ltd.,
IcelandicPLUS LLC and
Steven Barlow

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